    Case: 1:18-cv-00315-MRB Doc #: 4 Filed: 08/03/18 Page: 1 of 4 PAGEID #: 30




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO

JORDAN ROSENBLATT, Individually and             )
On Behalf of All Others Similarly Situated,     )
                                                )
                     Plaintiff,                 )   Case No. 1:18-cv-00315-MRB
                                                )
       v.                                       )   JURY TRIAL DEMANDED
                                                )
INFINITY PROPERTY AND CASUALTY                  )   CLASS ACTION
CORPORATION, JAMES R. GOBER,                    )
GLEN N. GODWIN, VICTOR THOMAS                   )
ADAMO, RICHARD J. BIELEN, ANGELA                )
BROCK-KYLE, TERESA A. CANIDA,                   )
HAROLD E. LAYMAN, E. ROBERT                     )
MEANEY, JAMES L. WEIDNER, SAMUEL                )
J. WEINHOFF KEMPER CORPORATION,                 )
and VULCAN SUB, INC.,                           )
                                                )
                     Defendants.                )

              STIPULATION AND [PROPOSED] ORDER OF DISMISSAL

       WHEREAS, on May 7, 2018 plaintiff Jordan Rosenblatt (“Rosenblatt”) filed a Complaint

for violation of the Securities Exchange Act of 1934 (the “Complaint”) in the above-captioned

action (the “Action”) against Infinity Property and Casualty Corporation (“Infinity”), James R.

Gober, Glen N. Godwin, Victor Thomas Adamo, Richard J. Bielen, Angela Brock-Kyle, Teresa

A. Canida, Harold E. Layman, E. Robert Meaney, James L. Weidner, Samuel J. Weinhoff

Kemper Corporation (“Kemper”), and Vulcan Sub, Inc. (collectively, “Defendants”);

       WHEREAS, the Complaint alleged violations of the Securities Exchange Act of 1934 in

connection with the Defendants’ joint proxy statement/prospectus contained in the Form S-4

Registration Statement Defendants filed with the United States Securities and Exchange

Commission (“SEC”) on April 4, 2018 (subsequently amended on April 24, 2018 (the

“Registration Statement”) in connection with a transaction where the minority shares of common
     Case: 1:18-cv-00315-MRB Doc #: 4 Filed: 08/03/18 Page: 2 of 4 PAGEID #: 31




stock of Infinity were acquired by defendant Kemper and his affiliated entities (the

“Transaction”);

         WHEREAS, on May 22, 2018, Defendants filed a Form 8-K with the SEC that included

additional information relating to the Transaction that addressed and mooted Plaintiff’s claims

regarding the sufficiency of the disclosures in the Registration Statement (the “Mooted Claims”);

         WHEREAS, Plaintiff’s counsel intends to assert a claim for mootness fees and expenses

in connection with the Mooted Claims (the “Fee Application”), and seek Court intervention if the

parties cannot resolve Plaintiff’s Fee Application;

         WHEREAS, all of the Defendants in the Action reserve all rights, arguments, and

defenses, including the right to oppose any potential Fee Application;

         WHEREAS, no class has been certified in the Action;

         WHEREAS, Defendants have denied and continue to deny any wrongdoing and contend

that no claim asserted in the Action was meritorious;

         NOW, THEREFORE, upon consent of the parties and subject to the approval of the

Court:

         IT IS HEREBY ORDERED this                   day of              , 2018 that:

         1.     All claims asserted in the Action are dismissed, with prejudice as to Plaintiff only.

All claims on behalf of the putative class are dismissed without prejudice.

         2.     Because the dismissal is with prejudice as to Plaintiff only, and not on behalf of a

putative class, notice of this dismissal is not required.

         3.     The Court retains jurisdiction of the Action solely for the purpose of determining

Plaintiff’s anticipated Fee Application, if filed.
    Case: 1:18-cv-00315-MRB Doc #: 4 Filed: 08/03/18 Page: 3 of 4 PAGEID #: 32




       4.      This Order is entered without prejudice to any right, position, claim, or defense

any party may assert with respect to the Fee Application, which includes the Defendants’ right to

oppose the Fee Application.

       5.      To the extent that the parties are unable to reach an agreement concerning the Fee

Application, they may contact the Court regarding a schedule and hearing to present such

application to the Court.

       6.      Upon completion of briefing, the parties shall promptly contact the Court to

schedule argument regarding Plaintiff’s Fee Application at a time convenient to the Court.

       7.      If the parties reach an agreement concerning the Fee Application, they shall notify

the Court. Upon such notification, the Court will close the Action


Dated: August 3, 2018                            LAW OFFICES OF JOHN C.
                                                 CAMILLUS, LLC

                                           By: /s/ John C. Camillus
                                               John C. Camillus
                                               P.O. Box 141410
                                               Columbus, OH 43214
                                               Telephone: (614) 558-7254
                                               Email: jcamillus@camilluslaw.com

                                                 Attorneys for Plaintiff
OF COUNSEL:

RIGRODSKY & LONG, P.A.
300 Delaware Avenue, Suite 1220
Wilmington, DE 19801
Telephone: (302) 295-5310

RM LAW, P.C.
1055 Westlakes Drive, Suite 300
Berwyn, PA 19312
Telephone: (484) 324-6800
    Case: 1:18-cv-00315-MRB Doc #: 4 Filed: 08/03/18 Page: 4 of 4 PAGEID #: 33




Dated: August 3, 2018                   KEATING MUETHING & KLEKAMP
                                        PLL
                                    By: /s Michael L. Scheier
                                        Michael L. Scheier
                                        One East 4th Street, Suite 1400
                                        Cincinnati, OH 45202
                                        Telephone: (513) 579-6952
                                        Email: MSCHEIER@KMKLAW.com

                                         Attorneys for Defendants Infinity Property
                                         and Casualty Corporation, James R.
                                         Gober, Glen N. Godwin, Victor Thomas
                                         Adamo, Richard J. Bielen, Angela Brock-
                                         Kyle, Teresa A. Canida, Harold E.
                                         Layman, E. Robert Meaney, James L.
                                         Weidner, and Samuel J. Weinhoff


Dated: August 3, 2018                    SIDLEY AUSTIN LLP

                                    By: /s Jim Ducayet
                                        Jim Ducayet
                                        One South Dearborn
                                        Chicago, IL 60603
                                        Telephone: (312) 853-7621
                                        Email: JDUCAYET@SIDLEY.COM

                                         Attorneys for Defendants Kemper
                                         Corporation and Vulcan Sub, Inc.


      IT IS SO ORDERED this _____ day of ________________, 2018.



                         _____________________________________________
                         UNITED STATES DISTRICT JUDGE
